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                            UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF ARIZONA
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11
     MICHAEL J. BROSNAHAN,                         No. CV-16-08277-PCT-DLR
12

13                       Plaintiff,
                                                   DEFENDANTS CALIBER HOME
14         v.                                      LOANS, INC., LSF9 MASTER
                                                   PARTICIPATION TRUST, AND
15                                                 SUMMIT SERVICE AND REALTY
     CALIBER HOME LOANS, INC., LSF9                LLC’S AMENDED REQUEST FOR
16                                                 JUDICIAL NOTICE IN SUPPORT
     MASTER PARTICIPATION TRUST, and
     SUMMIT SERVICE AND REALTY LLC                 OF DEFENDANTS’ MOTION TO
17                                                 DISMISS PLAINTIFF’S FIRST
                         Defendants.               AMENDED COMPLAINT
18
                                                   (Honorable Douglas L. Rayes)
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22         Defendants Caliber Home Loans, Inc., LSF9 Master Participation Trust, and

23   Summit Service and Realty LLC (collectively “Caliber”) respectfully request under

24   Federal Rule of Evidence 201 (“Rule 201”) that this Court take judicial notice of the

25   documents attached to this Amended Request for Judicial Notice.

26         Rule 201 allows a court to take judicial notice of documents outside of the
27   complaint that are capable of accurate and ready determination by resort to sources whose
28   accuracy cannot reasonably be questioned. Ariz. R. Evid. 201. Courts routinely take
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 1   judicial notice of loan documents in foreclosure cases. See, e.g., Kuc v. Christiana Trust
 2   ARLP 3, No. CV-15-08136-PCT-DLR, 2016 WL 74712, at *1 n.2 (Jan. 6, 2016).
 3   Likewise, it is entirely proper for a court to take judicial notice of court filings in other
 4   cases. See, e.g., In re Sabino R., 198 Ariz. 424, 10 P.3d 1211 (Ct. App. 2000) (“It is
 5   proper for a court to take judicial notice of its own records or those of another action tried
 6   in the same court.”); Pierpont v. Hydro. Mfg. Co., Inc., 22 Ariz. App. 252, 526 P.2d 776
 7   (1974). A district court may consider documents referred to or “whose contents are
 8   alleged in the complaint” but are not attached to the plaintiff’s pleading. See, e.g.,
 9   Lapidus v. Hecht, 232 F.3d 679, 682 (9th Cir. 2000).
10          The documents attached were all filed in the county recorder’s office and several
11   unofficial copies were attached to Defendants’ initial Request for Judicial Notice, filed
12   concurrently with its Motion to Dismiss on February 9, 2017. In his Response to the
13   Motion to Dismiss, Plaintiff objected to these documents due to the “Unofficial Copy”
14   stamp. [Dkt. 16, at 2]
15          Federal Rule of Evidence 201 permits courts to take judicial notice of any facts that
16   “can be accurately and readily determined from sources whose accuracy cannot
17   reasonably be questioned.” FRE 201(b)(2). The rule does not limit the scope of judicial
18   notice to only “official” copies of documents, and importantly Plaintiff offers to reason at
19   all for the Court to doubt the accuracy of the previously submitted documents (let alone
20   any “reasonabl[e]” basis to question their accuracy). The previously submitted records
21   were pulled directly from the Coconino County Recorder’s Office website and submitted
22   for the convenience of the Court to provide an example of the exact documents that are
23   contained in the official records, and the Court has the ability to directly access those
24   records itself online if it were so inclined. Nevertheless, to avoid any further argument
25   about this irrelevant side issue, Defendants have obtained Official Copies of the exact
26   same documents that were previously submitted from the County Recorder’s Office, and
27   those official copies are attached to this Amended Request as Appendix A.
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 1                                          Conclusion
 2         For the foregoing reasons, Defendants respectfully request that the Court take

 3   judicial notice of the attached documents and contents contained therein.

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     Dated: March 2, 2017                          PERKINS COIE LLP
 5

 6                                                 By: /s/ Kendra L. Haar
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                                                   Loans, LSF9 Master Participation Trust,
12                                                 and Summit Service and Realty LLC

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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on March 2, 2017, I electronically transmitted the attached
 3   documents to the Clerk’s Office using the CM/ECF System for filing.
 4         I also certify that on March 2, 2017, I served a copy of the attached documents via
 5   First Class mail on Plaintiff Pro Se Michael J. Brosnahan, 21 Hummingbird Circle,
 6   Sedona, AZ 86336-7012.
 7                                           s/ Susan Carnall
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